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                                 INSURANCE COMPANY and PROSIGHT
                             9   SPECIALTY MANAGEMENT
                                 COMPANY, INC.
                         10
                         11                          UNITED STATES DISTRICT COURT
                         12            CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                         13
                         14      SIGMA FINANCIAL CORPORATION,             Case No. 8:15-cv-1531-AG-DFM
                                 a Michigan corporation,
                         15
                                                                          [MIL NO. 3]
                         16                    Plaintiff,
                                      v.                                  MEMORANDUM OF POINTS
                         17
                                                                          AND AUTHORITIES IN
                         18      GOTHAM INSURANCE COMPANY, a              SUPPORT OF MOTION IN
                                 New York corporation, et al.,            LIMINE RE CADENCE’S
                         19
                                                                          ADMISSIONS
                         20                    Defendants.
                         21                                               Date:    July 17, 2017
                                                                          Time:    10:00 a.m.
                         22                                               Judge:   Hon. Andrew Guilford
                         23                                               Place:   Courtroom 10D
                                                                                   411 West 4th Street
                         24                                                        Santa Ana, CA 92701
                         25      AND RELATED CROSS-CLAIM
                         26
                         27
                         28                                              POINTS AND AUTHORITIES IN SUPPORT OF
H OG AN L OV ELLS US                                                 MOTION IN LIMINE RE CADENCE’S ADMISSIONS
        LLP
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                             1    I.   INTRODUCTION
                             2         Defendants Gotham Insurance Company and ProSight Specialty
                             3   Management Company, Inc. hereby move for an order in limine precluding
                             4   Cadence Insurance Brokers, Inc., Sigma Financial Corporation and Brown &
                             5   Brown Insurance Services, Inc., d/b/a CalSurance Associates from introducing any
                             6   evidence or making arguments that are inconsistent with Cadence’s admissions to
                             7   Gotham’s first set of requests for admission. The matters in those requests have
                             8   been admitted as a matter of law by operation of Rule 36(a)(3) because Cadence
                             9   has refused and failed to respond to those requests since October 2016, ignored the
                         10      problem caused by this refusal/failure when it was brought to Cadence’s attention
                         11      more than six months ago and failed to seek relief from its automatic admissions.
                         12      As a result, Cadence’s admissions are binding in this litigation and any evidence
                         13      that contradicts those admissions is irrelevant (Fed. R. Evid. 402), prejudicial,
                         14      misleading and a waste of the Court’s and the parties’ time (Fed. R. Evid. 403) and
                         15      must be excluded from consideration by the trier of fact on that basis.
                         16      II.   SUMMARY OF RELEVANT FACTS
                         17         Gotham propounded Requests for Admission to Cadence on October 10, 2016,
                         18      along with requests for production of documents and interrogatories. (Declaration
                         19      of David R. Williams (“Williams Decl.”), Exs. A, B and C.) Cadence’s responses
                         20      to Gotham’s requests for admission were due on November 9, 2016. Fed. R. Civil
                         21      Proc. 36(a)(3). Cadence failed to serve any objections or responses by the statutory
                         22      deadline. On December 5, 2016, almost a month after Cadence’s responses had
                         23      been due, Gotham notified Cadence in writing that the requests had been deemed
                         24      admitted as a matter of law. (Williams Decl., Ex. D.) Gotham’s correspondence
                         25      attached all of the discovery requests to Cadence, including the proofs of service.
                         26      (Id.) Cadence immediately replied that it believed that responses to the requests for
                         27      admission were not due until the next day, December 6. (Williams Decl., Ex. E.)
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                                                                                 POINTS AND AUTHORITIES IN SUPPORT OF
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                                                                     -1-     MOTION IN LIMINE RE CADENCE’S ADMISSIONS
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                             1   In taking this position, Cadence mistakenly referred to the deadline for its responses
                             2   to other parties’ discovery requests, not the discovery propounded by Gotham. (Id.)
                             3   When Gotham pointed this fact out to Cadence, Cadence apologized for the
                             4   oversight. (Id.) Despite the supposed mistake and its alleged believe that responses
                             5   were due on December 6, 2016, Cadence failed to follow up on Gotham’s requests
                             6   for admission, purport to object or in other way respond to those requests (or any of
                             7   Gotham’s other discovery requests) or seek relief from the matters deemed admitted
                             8   by law until June 14, 2017. Cadence never sought an extension to respond to
                             9   Gotham’s discovery requests and has never offered an excuse for its failure to
                         10      honor its discovery obligations. (Williams Decl. at ¶ 7.)1
                         11      III.   DISCUSSION
                         12             Gotham and ProSight anticipate that Sigma, Cadence and CalSurance will
                         13      attempt to argue and present evidence during dispositive motions and at trial that
                         14      contradicts the matters that Cadence has already admitted pursuant to Fed. R. Civil
                         15      Proc. 36(a)(3). The Federal Rules of Evidence prevent any such arguments or
                         16      evidence from being presented to the trier of fact.
                         17             A.    Gotham’s Requests Are Admitted By Operation Of Law
                         18             Rule 36(a)(3) of the Federal Rules of Civil Procedure states that “[a] matter
                         19      is admitted” unless the party to which the requests are propounded responds within
                         20      30 days of the date of service, absent some other agreement between the
                         21      propounding and responding parties. Once a matter is admitted, it is “conclusively
                         22      established” throughout the proceedings. Fed. R. Civil Proc. 36(b). In this case,
                         23      Gotham’s requests for admission were served on October 10 and Cadence’s
                         24      responses were due on November 9, 2016. Cadence did not respond by the date on
                         25
                         26
                                 1
                                  On June 14, 2017, in reaction to Gotham’s efforts to satisfy the meet and confer
                                 requirement set forth in Local Rule 7-3, Cadence provided untimely, unsigned,
                         27      unverified objections and partial responses to Gotham’s discovery requests.
                         28      (Williams Decl. at ¶ 7.)
                                                                                POINTS AND AUTHORITIES IN SUPPORT OF
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                                                                     -2-    MOTION IN LIMINE RE CADENCE’S ADMISSIONS
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                             1   which responses to the Requests for Admission were due and did not respond until
                             2   June 14, 2017, when it purported to serve unsigned responses after the meet and
                             3   confer on this motion had concluded. The consequence of this failure under Rule
                             4   36 clear: The matters in Gotham’s requests for admission have been admitted as a
                             5   result of Cadence’s failure to respond.
                             6         This is not an instance of a party lying in wait while an opposing litigant’s
                             7   deadline quietly passes by. On December 5, 2016, after Cadence failed to respond
                             8   to its discovery, Gotham wrote to Cadence, attached copies of the discovery
                             9   requests at issue and made it clear that Cadence’s responses were long past due.
                         10      (Williams Decl., Ex. D.) Despite the subsequent back-and-forth between the
                         11      parties, Cadence refused and continued to fail to respond to Gotham’s discovery
                         12      requests and failed to seek relief from its admissions.2
                         13            Cadence refused to respond to Gotham’s discovery requests for more than six
                         14      months (and not until after the discovery cut-off has passed) and Gotham would be
                         15      significantly prejudiced if the parties were not held to Cadence’s admissions.
                         16      Gotham has been forced to evaluate this litigation, plan for trial and conduct all of
                         17      its other discovery efforts under the assumption -- and, in fact, legal requirement --
                         18      that Cadence’s admissions are binding. Gotham does not have time and should not
                         19      be forced to incur the expense of having to redo all of its discovery in this action
                         20      because of a change to the matters that have already been admitted. Accordingly,
                         21      the Court cannot permit Cadence, Sigma or CalSurance to present evidence or
                         22
                                 2
                         23        Gotham was willing to stipulate to relief from Cadence’s admissions during a
                                 reasonable period of time after Cadence’s responses were due, as demonstrated by
                         24
                                 the way Gotham and CalSurance dealt with a similar issue. CalSurance initially
                         25      failed to respond to Gotham’s requests for admissions and subsequently sought
                         26      relief from the admissions. Gotham stipulated to that requested relief, which the
                                 Court promptly granted. (Dkt. 95, 96.) Cadence has not sought relief from its
                         27      admissions from the Court or from Gotham at any time, even though it has had
                         28      more than six months to do so, and now it is too late for such measures.
                                                                                POINTS AND AUTHORITIES IN SUPPORT OF
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                                                                      -3-   MOTION IN LIMINE RE CADENCE’S ADMISSIONS
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                             1   arguments that contradict Cadence’s admissions and that Gotham has not been able
                             2   to test through discovery.
                             3          B.    Arguments Or Evidence That Contradict Cadence’s Admissions
                                              Are Irrelevant Under Rule 401
                             4
                                        Evidence is only relevant if “(a) it has any tendency to make a fact more or
                             5
                                 less probable than it would be without the evidence; and (b) the fact is of
                             6
                                 consequence in determining the action.” Fed. R. Evid. 401. Irrelevant evidence is
                             7
                                 inadmissible (Fed. R. Evid. 402) and determinations of relevance and remoteness
                             8
                                 are left up to the common sense of the trial judge. United States v. Hankey, 203
                             9
                                 F.3d 1160, 1170 (9th Cir. 2000). Evidence that is irrelevant is of no probative
                         10
                                 value and should not be admitted.
                         11
                                        Evidence and arguments that contradict Cadence’s admissions are irrelevant
                         12
                                 per se. Rule 36 is mandatory and the facts that Cadence has admitted are
                         13
                                 “conclusively established” and controlling in these proceedings. Accordingly, any
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                                 arguments or evidence that contradicts those admissions have no tendency “to make
                         15
                                 a fact more or less probable than it would be without the evidence.” Fed. R. Evid.
                         16
                                 401.
                         17
                                        C.    Evidence Or Arguments That Contradict Cadence’s Admissions
                         18                   Would Be Prejudicial
                         19             Even relevant evidence must meet the criteria set by Rule 403, which permits
                         20      exclusion where the purported evidence’s “probative value is substantially
                         21      outweighed by a danger of . . . unfair prejudice, confusing the issues, misleading the
                         22      jury, undue delay, wasting time, or needlessly presenting cumulative evidence.”
                         23      Fed. R. Evid. 403. Trial courts abuse their discretion by introducing “evidence
                         24      [that] is of very slight (if any) probative value . . . if there’s even a modest
                         25      likelihood of unfair prejudice or a small risk of misleading the jury.” See United
                         26      States v. Hitt, 981 F.2d 422, 424 (9th Cir. 1992).
                         27             In addition to being irrelevant, as established above, any argument or
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                                                                                  POINTS AND AUTHORITIES IN SUPPORT OF
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                                                                       -4-    MOTION IN LIMINE RE CADENCE’S ADMISSIONS
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                             1   evidence that contradicts Cadence’s admissions would be extremely prejudicial.
                             2   Gotham is entitled to rely on Cadence’s admissions under Rule 36 and, given
                             3   Cadence’s refusal to participate in discovery, has been forced to rely on those
                             4   admissions in preparing its case for trial. Permitting any of the parties to present
                             5   evidence contrary to Cadence’s admissions would only serve to confuse issues that
                             6   are clearly established by operation of law and mislead the jury at trial. There is no
                             7   evidentiary value to matters that contradict a party’s admissions and permitting the
                             8   parties to muddy the waters by presenting any such evidence or argument would be
                             9   extremely prejudicial.
                         10      IV.     CONCLUSION
                         11              Sigma cannot, as a matter of law, present any evidence or arguments that
                         12      contradict the matters that Cadence has admitted. Accordingly, such evidence and
                         13      arguments must be excluded during dispositive motion briefing and at trial.
                         14
                         15      Dated: June 15, 2017                HOGAN LOVELLS US LLP

                         16
                         17                                          By: /s/ Mark C. Goodman
                                                                       Mark C. Goodman
                         18                                            Attorneys for Defendants GOTHAM
                         19                                            INSURANCE COMPANY and PROSIGHT
                                                                       SPECIALTY MANAGEMENT
                         20                                            COMPANY, INC.
                         21         V.




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                                                                                POINTS AND AUTHORITIES IN SUPPORT OF
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